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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


Case No.          CV 22-7303-TJH(PLAx)                                            Date     JANUARY 3, 2023


Title     Innovative Sports Management, Inc. v. Gerardo Valdivia


Present: The Honorable             TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE


                  YOLANDA SKIPPER                                              NOT REPORTED
                          Deputy Clerk                                           Court Reporter


                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                            None Present                                         None Present


Proceedings:          IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES

        Counsel are hereby notified that pursuant to the Judge's directive, the Defendant's motion for leave to
        file sur-reply [26], filed on January 3, 2023 is hereby denied with leave to renew, for failure to comply
        with Local Rule 7-19.1 and failure to lodge a proposed sur-reply.


        IT IS SO ORDERED.



        cc: all parties




        CV 90                                       CIVIL MINUTES - GENERAL            Initials of Deputy Clerk ys
